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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THENORTHERN DISTRICT OF WEST VIRGINIA
                                  CLARKSBURG

 WILLIAM COX,

                Plaintiff,

 v.                                                          Civil Action No. 1:21-CV-4
                                                             (JUDGE KLEEH)
 AARON DALTON, in his individual capacity
 as a City of Westover Police Officer;
 JUSTICE CARVER, in his individual capacity
 as a City of Westover Police Officer; and
 THE CITY OF WESTOVER,

                Defendants.

              MEMORANDUM OPINION AND ORDER DENYING
           DEFENDANT CITY OF WESTOVER’S MOTION TO COMPEL
        COMPLETE DISCOVERY RESPONSES FROM PLAINTIFF [ECF NO. 87]

        Presently pending before the Court is Defendant City of Westover’s (“Westover”) Motion

 to Compel Complete Discovery Responses from Plaintiff, filed on October 15, 2021. [ECF No.

 87]. The Court is in receipt of Plaintiff’s Response [ECF No. 93], thereto, filed on October 29,

 2021. The Court also is in receipt of Westover’s Reply in support its Motion [ECF No. 95], filed

 on November 5, 2021. By Order [ECF No. 88] dated October 22, 2021, United States District

 Judge Thomas S. Kleeh referred said motion to the undersigned Magistrate Judge for hearing and

 entry of an order as to appropriate disposition. Then, on November 12, 2021, the undersigned

 conducted a hearing on the same. [ECF No. 102].

        By this action, Plaintiff brings claims under 42 U.S.C. § 1983 against Westover and certain

 of its police officers, alleging false arrest and use of excessive force. The incident in question

 occurred on August 25, 2019. In general terms, Westover seeks certain video recordings, text

 messages, and other electronic data from Plaintiff concerning events, individuals, and entities at

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 issue in this case. And in general terms, Plaintiff objected to the breadth of the inquiry, and to the

 timeframes covered by Westover’s discovery requests.

         In particular, Westover requests that Plaintiff be ordered to respond to, or otherwise

 supplement, responses to Westover’s Request for Production Nos. 24, 28, 29, 30, 31, and 40. At

 the hearing before the undersigned on November 12, 2021, counsel for the parties stated on the

 record that this dispute has been resolved as to Request for Production Nos. 28, 29, 30, and 31.

 Thus, as to Request for Production Nos. 28, 29, 30, and 31, Westover’s motion is DENIED as

 moot. Moreover, at the hearing on November 12, 2021, Plaintiff’s counsel indicated on the record

 that Plaintiff would agree to produce the information which Westover seeks via Request for

 Production No. 40. Thus, as to Request for Production No. 40, Westover’s motion is DENIED as

 moot.

         This leaves Request for Production No. 24. By this Request, Westover seeks video

 recordings of Westover police officers which Plaintiff made both prior to the incident on August

 25, 2019 and after the incident on August 25, 2019. At the hearing on November 12, 2021,

 Plaintiff’s counsel indicated on the record that Plaintiff was willing to provide such video

 recordings made prior to August 25, 2019. However, Plaintiff maintained that he was unwilling to

 produce any such video recordings made after that date. Thus, to the extent which Westover seeks

 such video recordings produced prior to August 25, 2019, its motion is DENIED as moot.

         This leaves for resolution by the Court only a part of Request for Production No. 24 –

 namely, whether Plaintiff must produce such video recordings made after August 25, 2019. Under

 the Federal Rules of Civil Procedure:

         Parties may obtain discovery regarding any nonprivileged matter that is relevant to
         any party’s claim or defense and proportional to the needs of the case, considering
         the importance of the issues at stake in the action, the amount in controversy, the
         parties’ relative access to the relevant information, the parties’ resources, the


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        importance of the discovery in resolving the issues, and whether the burden or
        expense of the proposed discovery outweighs the likely benefit.

 Fed. R. Civ. P. 26(b)(1) (emphasis added).

        In this instance, it is unclear how video recordings which Plaintiff may have made after the

 incident at issue could have bearing on the claims and defenses in this matter. After all, Plaintiff’s

 claims do not turn on particular incidents occurring or arising after August 25, 2019. At the hearing

 on November 12, 2021, the most which Westover’s counsel seemed to articulate was that it could

 show Plaintiff’s pattern of goading law enforcement into adverse action. But it is difficult to

 discern how that supports or squares with viable defenses here. Thus, it is not clear that there is

 any benefit to ordering the production of such videos, if the even exist, or that it is a good use of

 resources to search for them and compel their production.

        Accordingly, based on the foregoing, it is ORDERED that Westover’s motion [ECF No.

 87] is hereby DENIED as more particularly set forth herein.

        It is all so ORDERED.

        The Clerk of the Court is directed to provide a copy of this Order to all counsel of record,

 as applicable, as provided in the Administrative Procedures for Electronic Case Filing in the United

 States District Court for the Northern District of West Virginia.

        DATED: November 16, 2021




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